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UNITED sTATEs DISTRICT coURT 05 , _
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Western Division ,

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UNITED STATES OF AMERICA

 

-v- Case No. 2:03cr20005-5-B
KYLE BLACK
ORDER SETT|NG
COND|T|ONS OF RELEASE

IT IS ORDERED that the release of the defendant is subject to the following conditions and provisions:
(1) The defendant shall not commit any offense in violation of federal, state or local law while on release in this

case.
(2) The defendant shall immediately advise the court, Pretrial Services Office, Probation Oft'ice, defense counsel

and the U.S. Attorney in writing of any change in address and telephone number.
(3) The defendant shall appear at all proceedings as required and shall surrender for service of any sentence

imposed as directed The defenth shall next appear as directed by the Court.

ADD|T|ONAL COND|T|ONS OF RELEASE

In order reasonably to assure the appearance of the defendant and the safety of other persons and the

community, it is FURTHER ORDERED that the release of the defendant is subject to the conditions marked below:

The defendant is released on personal recognizance

Secured Financial Conditions

report as directed by the Probation Offlce.

other: Defendant shall abide by all conditions of supervised release previously imposed..

ADV|CE OF PENALT|ES AND SANCT|ONS

TO THE DEFENDANT:

YOU ARE ADV|SED OF THE FOLLOW|NG PENALT|ES AND SANCT|ONS:

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A violation of any of the foregoing conditions of release may result in the immediate issuance of a warrant for
your arrest, a revocation of release, an order of detention, and a prosecution for contempt of court and could result in
a tenn of imprisonment, a fine, or both.

The commission of a Federal offense while on pretrial release may result in an additional sentence to a term
of imprisonment of not more than ten years, if the offense is a felony; or a term of imprisonment of not more than one
year, if the offense is a misdemeanor. This sentence shall be in addition to any other sentence.

Federal law makes it a crime punishable by up to ten years of imprisonment, and a $250,000 fine or both to
obstruct a criminal investigationl It is a crime punishable by up to ten years of imprisonment, and a $250,000 fine or
both to tamper with a witness, victim or inforrnant; to retaliate or attempt to retaliate against a witness, victim or
informant; or to intimidate or attempt to intimidate a witness, victim, juror, informant or officer of the court. The
penalties for tarnpering, retaliation, or intimidation are significantly more serious if they involve a killing or attempted
killing

If after release, you knowingly fail to appear as required by the conditions of release, or to surrender for the
service of sentence, you may be prosecuted for failing to appear or surrender and additional punishment may be
irnposed. If you are convicted of:

(1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more, you
shall be fined not more than $250,000 or imprisoned for not more than ten years, or both;
(2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years, you shall

be fined not more than $250,000 or imprisoned not more than five years, or both;
(3) any other felony, you shall be fined not more than $250,000 or imprisoned not more than two years, or both;
(4) a misdemeanor, you shall be fined not more than $100,000 or imprisoned not more than one year, or both.
A term of imprisonment imposed for failure to appear or surrender shall be in addition to the sentence for any
other offense In addition, a failure to appear may result in the forfeiture of any bond posted.

ACKNOWLEDGMENT OF DEFENDANT

I acknowledge that I am the defendant in this case and that I am aware of the conditions of release. l promise
to obey all conditions of release, to appear as directed, and to surrender for service of any sentence irnposed. I am aware
of the penalties and sanctions set forth above.

 

0 Signature of Defendant

KYLE BLACK

6233 SOLWAY
MEMPHIS, TN 38119
901-763-2687

AO 199A Order Setting Cond|tions of Releass -2-

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DlRECTlONS TO THE UN|TED STATES MARSHAL

g The defendant is ORDERED released after processing
l'J The United States marshal is ORDERED to keep the defendant in custody until notified by the Clerk or
J udicial Officer that the defendant has posted bond and/or complied with all other conditions for release. The

defendant shall be produced before the appropriate judicial officer at the time and place specified, if still in
custody.

 

Dare.- nine 24, 2005 '\ L/'\_Q,<,\

TU M. PHAM
UNr'rED sTATEs MAGISTRATE IUDGE

Ao iesA order seizing conditions ar Rerease -3-

RICT COURT- WHESTERl\l DlSTRlCT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 234 in
case 2:03-CR-20005 Was distributed by faX, mail, or direct printing on
June 27, 2005 to the parties listed.

 

 

Leslie I. Ballin

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Honorable .l. Breen
US DISTRICT COURT

